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                                                   June 21, 2018

         VIA ECF AND EMAIL

         Hon. Mary Kay Vyskocil
         United States Bankruptcy Court
         One Bowling Green
         Courtroom 501
         New York, New York 10004

                  Re:   In re 733 Prospect Realty Services Corp., Case No. 17-10957-mkv

         Dear Judge Vyskocil:

                 The undersigned represents 733 Prospect Avenue LLC (the “Buyer”), the proposed buyer
         for the Debtor’s real property located at 733 Prospect Avenue, Bronx, New York (the
         “Property”). I write this letter, jointly with counsel for the Debtor, to request that the Court
         schedule an immediate status conference, either in-person or telephonic, and/or permit the
         Debtor to re-notice a hearing to consider approval of the Debtor’s Disclosure Statement earlier
         than the current adjourned date of August 7, 2018.

                 By way of background, the Buyer, by and through its assignor, has been in contract
         (“Contract”) with the Debtor for the purchase of the Property since on or about April, 2018. The
         Contract was executed by the President of the Debtor, Maria Lopez Perez, and supported by a
         Resolution of the Board of Directors which is comprised of Maria Lopez Perez and Daniel
         Torres Cruz. The Contract provides for a purchase price in the amount of $2.4 million which is
         more than enough to satisfy all creditors in full with interest and with a significant return to
         equity. The Buyer is a well-funded and experienced residential real estate developer in New
         York City and has no relationship whatsoever to the Debtor, its officers, directors or
         shareholders. The Contract is an all-cash deal, has no contingencies and the Buyer is prepared to
         close once Bankruptcy Court approval is obtained.

                On May 15, 2018 the Debtor filed a Chapter 11 Plan and Disclosure Statement [ECF
         Docket Nos. 39 and 40] which provided, inter alia, for the sale of the Property pursuant to the
         Contract and payment in full of all creditors. On May 17, 2018 the Debtor filed a Motion to
         confirm the Plan and approve the Disclosure Statement (the “Debtor’s Motion”) and noticed a
         hearing for May 31, 2018. While the Debtor’s attempt to confirm a Chapter 11 Plan prior to


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17-10957-mkv      Doc 58     Filed 06/21/18    Entered 06/21/18 17:56:31         Main Document
                                              Pg 2 of 3

Hon. Mary Kay Vyskocil
United States Bankruptcy Judge
June 21, 2018
Page 2


approval of the Disclosure Statement was improper, as was the service of a Motion to approve a
Disclosure Statement on only 14 days’ notice. the Motion was ultimately adjourned to June 26,
2018 which constitutes proper notice for a hearing to consider approval of a Disclosure
Statement under Federal Rule of Bankruptcy Procedure 2002(b).

        In the interim, a competing Plan and Disclosure Statement (“Suarez Plan” and “Suarez
Disclosure Statement”, respectively) was filed by Jose Suarez (“Suarez”) (who has held himself
out to be a shareholder of the Debtor which is disputed by the Debtor’s Board of Directors)
which proposed to sell the Property to Sultan Equities LLC (“Sultan”) for $2.5 million. The
proposed contract of sale with Sultan was signed only by Suarez and upon information and
belief, without the authority of the Debtor’s Board of Directors. The Suarez Disclosure
Statement was noticed for a hearing on approval for June 26, 2018. However, on June 4, 2018
the motion to approve the Suarez Disclosure Statement was withdrawn and has not been re-
noticed.

       On June 19, 2018, Sultan requested an adjournment of the Debtor’s Motion which was
granted that same day by the Court without any opportunity to respond by the Debtor or any
other party in interest. The Court has now scheduled the Debtor’s Motion to be heard on August
7, 2018 (the “Adjourned Date”).

        It respectfully submitted that it is critical that the portion of the Debtor’s Motion which
seeks approval of the Disclosure Statement be heard as soon as possible. Stay relief was granted
to NYCTL 1998-2/MTAG (the “Trust”) by an Order entered on November 14, 2017 and both the
Debtor and the Buyer have serious concerns that the Property could be auctioned at a foreclosure
sale by the Adjourned Date. Furthermore, the Buyer has acted in good faith, incurred significant
expenses and had its funds (contract deposit) sitting in escrow for months, on the expectation
that the transaction would be placed before the Court for approval in the short term.

        It is for these reasons that the Debtor and the Buyer respectfully request that the Court
grant their request for an immediate status conference and/ or permit the Debtor to re-notice a
hearing to approve the Disclosure Statement earlier than the Adjourned Date.
17-10957-mkv     Doc 58     Filed 06/21/18    Entered 06/21/18 17:56:31       Main Document
                                             Pg 3 of 3
Hon. Mary Kay Vyskocil
United States Bankruptcy Judge
June 21, 2018
Page 3


        Thank you for your consideration of this request. The undersigned will be out of the
office Friday, June 22, 2018 so if the Court wishes to speak about this matter before Monday,
June 25, 2018, kindly contact my partner, Jonathan S. Pasternak, Esq.


                                             Very truly yours,

                                             /s/ Erica R. Aisner

                                             ERICA R. AISNER



ERA/
cc:  Albert Barkey, Esq. (via email and ECF)
            Counsel for the Debtor
     Norma Ortiz, Esq. (via email and ECF)
            Counsel for Jose Suarez
     Nickolas Karavolas, Esq. (via email and ECF)
            Counsel for the Trust
     Gabriela Cacuci, Esq. (via email and ECF)
            Counsel for the City of New York
     Aaron Twerksy, Esq. (via email and ECF)
            Counsel for Sultan Equities LLC
     All other parties receiving ECF notification (via ECF)
